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                                                                 EXHIBIT - A
From: Chris Griesmeyer <cgriesmeyer@grglegal.com>
Sent: Thursday, October 6, 2022 4:50 PM
To: John Billhorn <jbillhorn@billhornlaw.com>
Subject: RE: DiCicco

You can propose whatever you’d like; but it won’t be agreed.

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